                Case 2:14-cr-00239-KJM Document 64 Filed 06/03/15 Page 1 of 3



     MICHAEL CHASTAINE, State Bar #121209
1    THE CHASTAINE LAW OFFICE
     2377 Gold Meadow Way, Suite 100
2    Gold River, CA 95670
     Telephone: 916-732-7150
3
     Attorneys for Defendant
4
     Marco Borja
5
6                          IN THE UNITED STATES DISTRICT COURT
7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                    ) Case No.: 2:14 CR 239 GEB
     UNITED STATES OF AMERICA,                       )
10                                                   ) STIPULATION AND ORDER
                   Plaintiff,                        ) CONTINUING STATUS CONFERNCE
11                                                   )
           v.                                        )
12                                                   )
     KENNETH TAM, et. al.,                           )
13                                                   )
                   Defendant.                        )
14
15
                  Defendants, by and through their undersigned counsel, and the government, by and
16
     through Assistant United States Attorney, Michael McCoy, hereby agree and stipulate that this
17
18   matter, set on calendar June5,2015 be continued to July 31, 2015 to allow counsel to review

19   discovery and continue to undergo defense investigation. Therefore the parties request a status
20
     conference of July 31, 2015 and that date is available with the court.
21
22                The parties further stipulate that the Court should exclude the period from the date

23   of this order through July 31, 2015, when it computes the time within which the trial of the
24
     above criminal prosecution must commence for purposes of the Speedy Trial Act. The parties
25
     stipulate that the ends of justice are served by granting the defendants’ request for a continuance
26
27   outweigh the best interest of the public and the defendants in a speedy trial, and that this is an

28
                                                      1
             Case 2:14-cr-00239-KJM Document 64 Filed 06/03/15 Page 2 of 3



     appropriate exclusion of time for defense preparation within the meaning of 18 U.S.C. §
1
2    3161(h)(7) (Local Code T4).

3
     Respectfully submitted,
4
     Dated: May 28, 2015                 ____/s/ Michael Chastaine
5                                        Michael Chastaine
                                         Attorney for Marco Borja
6
7
8    Dated: May 28, 2015                 /s/ Shari Rusk
9                                        Shari Rusk
                                         Attorney for Defendant Kenneth Tam
10
11   Dated: May 28, 2015                 /s/ Clemente Jimenez
                                         Clemente Jimenez
12                                       Attorney for Adalberto Valenzuela-Ruiz
13
14   Dated: May 28, 2015                  /s/ Thomas Johnson
                                         Thomas Johnson
15                                       Attorney for Nelson Gutierrez
16
17   Dated: May 28, 2015                  /s/ Dina Santos
                                          Dina Santos
18                                        Attorney for Gerald Osborne
19
     Dated: May 28, 2015                  /s/ Ronald Peters
20                                       Ronald Peters
                                         Attorney for Sherlynn Charles
21
22   Dated May 28, 2015                   /s/ Michael McCoy
                                          Michael McCoy
23                                        Assistant United States Attorney

24
25
26
27
28
                                                   2
              Case 2:14-cr-00239-KJM Document 64 Filed 06/03/15 Page 3 of 3




1                                              ORDER
2           GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
3           IT IS HEREBY ORDERED that the status conference scheduled for Friday, June
4    5, 2015 at 9:00 a.m. be continued to Friday, July 31, 2015 at 9:00 a.m. and that the
5    period from June 5, 2015 to July 31, 2015 is excludable from calculation under the
6    Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4. Further, that
7    the need for a continuance and continued counsel preparation outweighs the interests of
8    the public and the defendant in a speedy trial.
9
10   Dated: June 3, 2015
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  3
